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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

                                         )
JAMES D’CRUZ; NATIONAL RIFLE             )
ASSOCIATION OF AMERICA, INC.,            )
AMERICA, INC.,                           )
                                         )
             Plaintiffs,                 )
                                         )
                  v.                     )    Case No. 5:10-cv-00141-C
                                         )    Judge Sam R. Cummings
STEVEN MCCRAW, in his                    )
official capacity as Director of         )
the Texas Department of Public Safety,   )
                                         )
             Defendant.                  )
                                         )



  APPENDIX TO BRIEF IN SUPPORT OF PLAINTIFFS’ MOTION FOR SUMMARY
                             JUDGMENT

                           ORAL ARGUMENT REQUESTED

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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   LUBBOCK DIVISION

                                              )
JAMES D’CRUZ; NATIONAL RIFLE                  )
ASSOCIATION OF AMERICA, INC.,                 )
AMERICA, INC.,                                )
                                              )
               Plaintiffs,                    )
                                              )
                    v.                        )            Case No. 5:10-cv-00141-C
                                              )            Judge Sam R. Cummings
STEVEN MCCRAW, in his                         )
official capacity as Director of              )
the Texas Department of Public Safety,        )
                                              )
               Defendant.                     )
                                              )



                            DECLARATION OF BRENNAN HARMON

        I, Brennan Harmon, make the following declaration pursuant to 28 U.S.C. § 1746:

1.      I am a resident of the State of Texas and am over eighteen years of age. My statements

herein are based upon personal knowledge and experience.

2.      I am a nineteen year old female and I attend college in San Antonio, Texas. I live in an

off-campus apartment in San Antonio during the school year. In the summer, I live with my

parents in Dallas, Texas.

3.      I am a member of the National Rifle Association.

4.      My father and other members of my family have owned firearms, including long guns

and handguns, for my entire life. They have owned these firearms for several purposes,

including self-defense, hunting, and sport.




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5.      Through my father’s instruction, and through personal study, I am well acquainted with

the proper and safe handling, use, and storage of firearms and ammunition.

6.      I am the owner of a rifle and a shotgun. I do not find either the rifle or the shotgun

sufficient for armed self-defense outside the home. First, unlike a long gun, a handgun cannot be

easily redirected or wrestled away by an attacker. Second, I find a handgun easier to use and

load, as the long guns require significant upper body strength and are not ideal for fast loading or

accurate shooting in emergency situations. Third, a long gun requires two hands for operation,

whereas a handgun would leave one hand free to call the police while pointing the gun at an

assailant. Fourth, neither long gun is suitable for carriage outside the home (they are

cumbersome and conspicuous), whereas a handgun is suitable for this purpose because of its

size.

7.      Texas law generally prohibits a person from carrying a handgun outside of that person’s

premises or motor vehicle. See Tex. Penal Code § 46.02(a). While there is an exception to this

prohibition for persons who have a Texas Concealed Handgun License (CHL), see id. §

46.15(b)(6), because I am under 21 and not a member of or honorably discharged from the armed

forces I am not eligible to obtain a Texas CHL, see Tex. Gov’t Code § 411.172(a)(2), (g).

8.      Because of these Texas laws, and because of my fear of being prosecuted for violating

them, I currently do not carry a handgun outside of the home or motor vehicle for self-defense

purposes. If Texas law did not prohibit me from doing so, I would carry a handgun outside of

the home for self-defense and other lawful purposes.

9.      For example, when visiting or staying with my parents, I sometimes meet friends at night

in and around downtown Dallas. I would carry a handgun for self-protection on such occasions




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if it was lawful for me to do so, and my father has indicated that he would lend me a handgun for

that purpose.

10.    Aside from the age requirement, I meet all the requirements for obtaining a Texas CHL.

11.    On February 24, 2011, I completed a handgun safety course taught by a CHL instructor

licensed by the Texas Department of Public Safety (DPS). The course consisted of a total of

approximately 8 hours of classroom instruction and approximately 2 hours of range instruction.

The course culminated with administration of the written and range tests that are given to

applicants for a CHL. I passed the tests on my first attempt.

12.     On March 9, 2011, I visited the DPS website, which provides an electronic CHL

application. See https://www.texasonline.state.tx.us/txapp/txdps/chl/. The website stated that to

apply, I “must be at least 21 years of age or at least 18 years of age if currently serving in or

honorably discharged from the military.” Solely because of my failure to meet the age

requirement, I was thus unable to apply for and obtain a Texas CHL. But for the age

requirement, I would have obtained a Texas CHL and occasionally would carry a handgun as

permitted by the license.

13.    Indeed, because Texas law requires CHL applicants to submit an affidavit “stating that

the applicant …fulfills all the eligibility requirements” for obtaining a CHL, including the age

requirement, Tex. Gov’t Code § 411.174(a)(8)(B), Texas law prohibits me from even applying

for a CHL.

14.    I have also completed a Texas CHL application form and attached it as an exhibit to this

declaration.




                                                  3

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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF TEXAS
                                     LUBBOCK DIVISION

                                                )
JAMES D’CRUZ; NATIONAL RIFLE                    )
ASSOCIATION OF AMERICA, INC.,                   )
AMERICA, INC.,                                  )
                                                )
                Plaintiffs,                     )
                                                )
                      v.                        )            Case No. 5:10-cv-00141-C
                                                )            Judge Sam R. Cummings
STEVEN MCCRAW, in his                           )
official capacity as Director of                )
the Texas Department of Public Safety,          )
                                                )
                Defendant.                      )
                                                )



                              DECLARATION OF ANDREW PAYNE

         I, Andrew Payne, make the following declaration pursuant to 28 U.S.C. § 1746:

1.       I am a resident of Lubbock, Texas and am eighteen years of age. My statements herein

are based upon personal knowledge and experience.

2.       I am a member of the National Rifle Association.

3.       I regularly accompany my father on visits to a shooting range. We also hunt together.

These experiences have provided me with training in the proper and safe handling of firearms,

including handguns. I take firearms safety seriously and I understand the appropriate uses of

firearms. I do not, and would not, use a firearm for an inappropriate or illegal purpose.

4.       I believe that I have the right to self-defense, and that use of arms is the most effective

method of self-defense in some circumstances.




                                                    1

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5.       Although I own two long guns, I do not carry them outside the home for self-defense.

Long guns are cumbersome and conspicuous and thus not suitable for carriage outside the home

for this purpose.

6.       Texas law generally prohibits a person from carrying a handgun outside of that person’s

premises or motor vehicle. See Tex. Penal Code § 46.02(a). While there is an exception to this

prohibition for persons who have a Texas Concealed Handgun License (CHL), see id. §

46.15(b)(6), because I am under 21 and not a member of or honorably discharged from the armed

forces I am not eligible to obtain a Texas CHL, see Tex. Gov’t Code § 411.172(a)(2), (g).

7.       Because of these Texas laws, and because of my fear of being prosecuted for violating

them, I currently do not carry a handgun outside of the home or motor vehicle for self-defense

purposes. If Texas law did not prohibit me from doing so, I would carry a handgun outside of

the home for self-defense and other lawful purposes.

8.       For example, I sometimes go to a Wal-Mart store located in an area of town where I

would feel safer carrying a handgun for self-protection. If legally permitted to do so, I would

carry my father’s handgun when patronizing this Wal-Mart.

9.       Aside from the age requirement, I meet all the requirements for obtaining a Texas CHL.

10.      On February 13, 2011, I completed a handgun safety course taught by a CHL instructor

licensed by the Texas Department of Public Safety (DPS). The course consisted of a total of

approximately 8.5 hours of classroom instruction and 1.5 hours of range instruction. The course

culminated with administration of the written and range tests that are given to applicants for a

CHL. I passed the tests on my first attempt, scoring 100% on the written examination and 96.8%

on the range examination.




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                                                                                       App. 16
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11.     On February 17, 2011, I visited the DPS website, which provides an electronic CHL

application. See https://www.texasonline.state.tx.us/txapp/txdps/chl/. The website stated that to

apply, I “must be at least 21 years of age or at least 18 years of age if currently serving in or

honorably discharged from the military.” Solely because of my failure to meet the age

requirement, I was thus unable to apply for and obtain a Texas CHL. But for the age

requirement, I would have obtained a Texas CHL and occasionally would carry a handgun as

permitted by the license.

12.    Indeed, because Texas law requires CHL applicants to submit an affidavit “stating that

the applicant …fulfills all the eligibility requirements” for obtaining a CHL, including the age

requirement, Tex. Gov’t Code § 411.174(a)(8)(B), Texas law prohibits me from even applying

for a CHL.

13.    I have also completed a Texas CHL application form and attached it as an exhibit to this

declaration.




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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

JAMES D’CRUZ; NATIONAL RIFLE                     §
ASSOCIATION OF AMERICA, INC.                     §
     Plaintiffs,                                 §
                                                 §
v.                                               §            CASE NO. 5:10-CV-141-C
                                                 §
STEVEN MCCRAW,                                   §
     Defendant.                                  §

                          DECLARATION OF JOSHUA B. FELKER

I, Joshua B. Felker, make the following declaration pursuant to 28 U.S.C. § 1746:

1.       I am a resident of Cibolo, TX. I am over eighteen years of age and my statements herein

are based on personal knowledge.

2.       I am a Full Time Firearms Instructor.

3.       I am certified by the Texas Department of Public Safety as a Concealed Handgun License

Qualified Handgun Instructor. I first obtained my certification in 2005 and have been certified

continuously since that time.

4.       I am a Level 3 Firearms instructor for Texas Private Security Bureau.

5.       I am a former US Army Infantry Officer with a combat tour in Iraq.

6.       I am certified by the National Rifle Association as Certified Pistol Instructor and have

been certified as a Range Development & Operations expert.

7.       Pursuant to Texas law, an applicant for a Concealed Handgun License (“CHL”) must

“submit to [the Texas Department of Public Safety] … evidence of handgun proficiency.” TEX.

GOV’T CODE § 411.174(a)(7). Each applicant must take “a course … [in] handgun proficiency”

and pass “examinations to measure handgun proficiency.” Id. §411.188(a). “The course to teach

handgun proficiency … contain[s] training sessions divided into two parts.” Id. “One part of the



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                                                                                        App. 20
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course … [consists of] classroom instruction and the other part … [consists of] range instruction

and an actual demonstration by the applicant of the applicant’s ability to safely and proficiently

use the applicable category of handgun.” Id. “An applicant must be able to demonstrate, at a

minimum, the degree of proficiency that is required to effectively operate a handgun of .32

caliber or above.” Id. “The handgun proficiency course must include at least 10 hours … of

instruction on: (1) the laws that relate to weapons and to the use of deadly force; (2) handgun

use, proficiency, and safety; (3) nonviolent dispute resolution; and (4) proper storage practices

for handguns with an emphasis on storage practices that eliminate the possibility of accidental

injury to a child.” Id. §411.188(b).

8.       I have been providing the handgun-proficiency training required by Texas law for more

than six years and have instructed more than 10,000 students.

9.       The Texas Department of Public Safety has promulgated further rules, standards, and

guidelines for CHL training and proficiency testing. The training courses and examinations I

offer are fully consistent with those rules, standards, and guidelines.

10.      CHL applicants must achieve 70% or better on both (i) a written exam and (ii) a range

exam during which the applicant must demonstrate proper handgun technique and proficiency at

a firing range. An applicant may attempt each test three times to achieve the required score.

11.      On 24 February 2011, I administered to Ms. Brennan Harmon the training courses and

examinations required to obtain a Texas CHL. The course consisted of approximately eight

hours of classroom instruction and two hours of range instruction.

12.      On her first attempt, Ms. Harmon passed both the written exam and range proficiency

test. She demonstrated she has a good understanding of firearms fundamentals as well as Texas

laws.




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                                                                                       App. 21
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13.    For an applicant who (i) successfully completes the required training and passes the

required examinations and (ii) appears to meet all other qualifications (such as having attained at

least 21 years of age), a CHL Instructor issues a CHL-100 form, which shows a score of “pass.”

The applicant is then able to submit the CHL-100 form to the Texas Department of Public Safety

as “evidence of handgun proficiency.” TEX. GOV’T CODE § 411.174(a)(7).

14.    I issued her a CHL-100 to Ms. Harmon as she had successfully completed the training

and passed both the written and proficiency exam.

15.    I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE

AND CORRECT.


Executed on 14 March, 2011.

                                                     _______________________________

                                                     Joshua B Felker




                                                 3
                                                                                       App. 22
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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

JAMES D’CRUZ; NATIONAL RIFLE                    §
ASSOCIATION OF AMERICA, INC.                    §
     Plaintiffs,                                §
                                                §
v.                                              §            CASE NO. 5:10-CV-141-C
                                                §
STEVEN MCCRAW,                                  §
     Defendant.                                 §

                            DECLARATION OF JOHN P. LEVICK

I, John P. LeVick, make the following declaration pursuant to 28 U.S.C. § 1746:

1.       I am a resident of Hockley County, Texas. I am over eighteen years of age and my

statements herein are based on personal knowledge.

2.       I am an attorney licensed to practice law in the states of Texas, New Mexico, and

Oklahoma.

3.       I am certified by the Texas Department of Public Safety as a Concealed Handgun License

Qualified Handgun Instructor. I first obtained my certification in 1995 and have been certified

continuously since that time.

4.       I have obtained an “A” classification (Open Class) from the United States Practical

Shooting Association (“USPSA”), a national organization that promotes safe and fair

competition in practical shooting (that is, shooting that simulates effective and accurate real-life

self-defense situations). USPSA grants “A” classifications to those marksmen who have

obtained competition scores as good or better than 75% of all competitors, based on a collection

of thousands of scores recorded on a monthly basis.

5.       I have obtained an “Expert” ranking (Custom Defensive Pistol and Stock Service Pistol

divisions) from the International Defensive Pistol Association, the governing body of a shooting

sport that simulates self-defense scenarios and real-life encounters.
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                                                                                         App. 26
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6.       I am certified by the National Rifle Association as a Small Bore Pistol Expert.

7.       Pursuant to Texas law, an applicant for a Concealed Handgun License (“CHL”) must

“submit to [the Texas Department of Public Safety] … evidence of handgun proficiency.” TEX.

GOV’T CODE § 411.174(a)(7). Each applicant must take “a course … [in] handgun proficiency”

and pass “examinations to measure handgun proficiency.” Id. §411.188(a). “The course to teach

handgun proficiency … contain[s] training sessions divided into two parts.” Id. “One part of the

course … [consists of] classroom instruction and the other part … [consists of] range instruction

and an actual demonstration by the applicant of the applicant’s ability to safely and proficiently

use the applicable category of handgun.” Id. “An applicant must be able to demonstrate, at a

minimum, the degree of proficiency that is required to effectively operate a handgun of .32

caliber or above.” Id. “The handgun proficiency course must include at least 10 hours … of

instruction on: (1) the laws that relate to weapons and to the use of deadly force; (2) handgun

use, proficiency, and safety; (3) nonviolent dispute resolution; and (4) proper storage practices

for handguns with an emphasis on storage practices that eliminate the possibility of accidental

injury to a child.” Id. §411.188(b).

8.       I have been providing the handgun-proficiency training required by Texas law for more

than fifteen years and have instructed more than 300 students.

9.       The Texas Department of Public Safety has promulgated further rules, standards, and

guidelines for CHL training and proficiency testing. The training courses and examinations I

offer are fully consistent with those rules, standards, and guidelines.

10.      CHL applicants must achieve 70% or better on both (i) a written exam and (ii) a range

exam during which the applicant must demonstrate proper handgun technique and proficiency at

a firing range. An applicant may attempt each test three times to achieve the required score.




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                                                                                       App. 27
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11.    Over the years, several CHL applicants I have tested have required more than one attempt

before they could achieve the required 70% on the range test.

12.    On February 13, 2011, I administered to Andrew Payne the training courses and

examinations required to obtain a Texas CHL. The course consisted of approximately 8.5 hours

of classroom instruction and 1.5 hours of range instruction.

13.    On his first attempt, Mr. Payne achieved a score of 100% on the written examination and

a score of 96.8% (or 242/250) on the range examination. In other words, Mr. Payne easily

demonstrated the handgun proficiency required under Texas law before a person may be issued a

Concealed Handgun License. Indeed, in terms of knowledge and skill of safe and proper

handling of handguns, I would place Mr. Payne in the top 3-5% of students I have instructed

over fifteen years.

14.    For an applicant who (i) successfully completes the required training and passes the

required examinations and (ii) appears to meet all other qualifications (such as having attained at

least 21 years of age), a CHL Instructor issues a CHL-100 form, which shows a score of “pass.”

The applicant is then able to submit the CHL-100 form to the Texas Department of Public Safety

as “evidence of handgun proficiency.” TEX. GOV’T CODE § 411.174(a)(7).

15.    If Texas law permitted eighteen-year-olds to apply for a Texas CHL, I would have issued

Mr. Payne the CHL-100 form, which he could have used to successfully complete the application

for a Texas CHL. Solely because Mr. Payne did not meet the age requirement, I did not issue to

him the CHL-100 form.



I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
CORRECT.

Executed on February 16, 2011.



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                            Early State Militia Laws
State         Relevant Statutory Text                                         Source

Connecticut   Be it Enacted…That all male Persons, from sixteen               An Act for
              Years of Age to Forty-five, shall constitute the Military       Forming,
              Force of this State…And be it further Enacted, That all         Regulating, and
              such as belong to the Infantry Companies, and                   Conducting the
              Householders under fifty-five Years of Age, shall, at all       Military Force of
              Times be furnished at their own Expence, with a well            this State (Conn.
              fixed Musket, the Barrel not less than three Feet and an        1786) in ACTS AND
              Half long, and a Bayonet fitted thereto, with a Sheath          LAWS OF THE STATE
              and Belt or Strap for the same, with a Ram-rod, Worm,           OF CONNECTICUT IN
              Priming-wire and Brush, one Cartouch-box carrying               AMERICA 144, 150
              fifteen rounds of Cartridges, made with good Musket             (1786).
              Powder and Ball, fitting his Gun, six good Flints, and
              each Militia Man one Canteen holding not less than
              three Pints, upon Penalty of forfeiting and paying a Fine
              of Three Shillings for want of such Arms and
              Ammunition as is hereby required, and One Shilling for
              each Defect, and the like Sum or Sums for every four
              Weeks he shall remain unprovided….And be it further
              enacted, That every Light-Dragoon shall always be
              provided with…a Case of good Pistols…one Pound of
              good Powder, three Pounds of sizable Bullets, twelve
              Flints, a good pair of Boots and Spurs, on Penalty of
              Three Pounds for want of such Horse, and the Value of
              each other Article in which he shall be deficient.

Delaware      §7 And be it enacted, That every person between the             An Act for
              ages of eighteen and fifty, or who may hereafter attain to      Establishing a
              the age of eighteen years, except as before excepted,           Militia, §§7-8, 1785
              whose public taxes may amount to twenty shillings a             Del. Laws 59.
              year, shall at his own expence, provide himself; and
              every apprentice, or other person of the age of eighteen
              and under twenty-one years, who hath an estate of the
              value of eighty pounds, or whose parent shall pay six
              pounds annually towards the public taxes, shall by his
              parent or guardian respectively be provided with a
              musket or firelock, with a bayonet, a cartouch box to
              contain twenty three cartridges, a priming wire, a brush
              and six flints, all in good order, on or before the first day
              of April next, under the penalty of forty shillings, and
              shall keep the same by him at all times, ready and fit for
              service, under the penalty of two shillings and six pence
              for each neglect or default thereof on every muster day,



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             to be paid by such person if of full age or by the parent
             or guardian of such as are under twenty-one years, the
             same arms and accoutrements to be charged by the
             guardian to his ward, and allowed at settling the
             accounts of his guardianship.

             ….

             §8 And be it enacted, That every male white person
             within this state, between the ages of eighteen and fifty,
             or who shall hereafter attain to the age of eighteen years
             ,except as before excepted, shall attend at the times and
             places appointed in pursuance of this act for the
             appearance of the company or regiment to which he
             belongs, and if any non-commissioned officer or private,
             so as aforesaid required to be armed and accoutered with
             his firelock and accoutrements aforesaid in good order,
             or if any male white person between the ages aforesaid
             although not required to be so armed and accoutered,
             shall neglect or refuse to appear on the parade and
             answer to his name when the roll is called over….shall
             forfeit and pay the sum of four shillings for every such
             neglect or refusal.

Georgia      [A]ny male free inhabitant, between the age of sixteen       An Act for
             and fifty years, who shall refuse or neglect to attend       Regulating the
             such company muster, shall be liable to a fine of two        Militia of the State,
             dollars….And any private who shall attend such               and for Repealing
             company muster without a gun, in good order, or shall        the Several Laws
             misbehave or disobey while under arms, shall be liable       Heretofore Made
             to a fine of six dollars, and shall have powder and lead     for that Purpose,
             equal to six common cartridges, or be liable to a fine not   1786 Ga. Laws.
             exceeding one dollar.

Maryland     §II Be it enacted, by the General Assembly of Maryland,      An Act to Regulate
             That a lieutenant in each county of this state, of           the Militia, ch.
             undoubted courage, zeal and attachment to the liberties      XVII., §§ II, VI,
             and independence of America….within ten days after           1777 Md. Laws
             the receipt of their several and respective commissions,     361-62.
             shall, by warrant under their hand and seal, appoint fit
             and proper persons in every county, to make a true and
             exact list of the names of all able bodied white male
             persons, between sixteen and fifty years of age.

             ….




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                §VI And be it enacted, That the whole of the militia, so
                enrolled as aforesaid, shall be subject to be exercised in
                companies…on each of which days every militia man,
                so enrolled, shall duly attend, with his arms and
                accoutrements in good order…

Massachusetts   Whereas the laws now in force for regulating the militia   An Act for
                of the Commonwealth, are found to be insufficient for      Regulating and
                the said purpose:                                          Governing the
                                                                           Militia of the
                I. Be it therefore enacted by the Senate and House of      Commonwealth of
                Representatives, in General Court assembled, and by the Massachusetts, and
                authority of the same, That the several laws heretofore    for Repealing All
                made for regulating the militia aforesaid, be and herby    Laws Heretofore
                are repealed. Provided nevertheless, That all actions and Made for That
                processes commenced and depending in any Court             Purpose (Mass.
                within this Commonwealth, upon or by force of the said 1785) in THE
                laws, shall, and may be sustained and prosecuted to final PERPETUAL LAWS
                judgment and execution; and that all officers elected,     OF THE
                appointed and commissionated agreeably to law, shall       COMMONWEALTH
                be continued in commission, and hold their respective      OF
                commands in the militia, in the same manner as they        MASSACHUSETTS,
                would in case the said laws were still in force.           338, 340-41, 346-47
                                                                           (1789).
                II. And be it further enacted by the authority of the
                aforesaid, That the said militia shall be formed into a
                train-band, and alarm-lift; the train-band to contain all
                able-bodied men, from sixteen to forty years of age, and
                the alarm-list all other men under fifty years of age,
                excepting in both cases such as shall be hereafter by this
                act exempted.

                ….

                XIII. And be it further enacted by the authority
                aforesaid, That every non-commissioned officer and
                private folder of the said militia, not under the control of
                parents, masters or guardians, and being of sufficient
                ability therefore in the judgment of the selectmen of the
                town in which he shall dwell, shall equip himself, and
                be constantly provided with a good fire-arm, with a steel
                or iron ramrod, a spring to retain the same, a worm,
                priming wire and brush, a bayonet fitted to his fire-arm,
                and a scabbard and belt for the fame, a cartridge-box
                that will hold fifteen cartridges at least, six flints, one
                pound of powder, forty leaden balls suitable for this




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            firearm, a haversack, blanket, and canteen; and if any
            non-commissioned officer or private soldier shall
            neglect to keep himself so armed and equipped, he shall
            forfeit and pay a fine not exceeding three pounds, is
            proportion to the value of the article or articles in which
            he shall be deficient, at the direction of the Justice of the
            Peace before whom trial shall be at hand.

            XIV. And be it further enacted by the authority
            aforesaid, That all parents, masters and guardians, shall
            furnish those of the said militia who shall be under their
            care and command, with the arms and equipments afore-
            mentioned, under the like penalties for any neglect.

            XV. And be it further enacted by the authority aforesaid,
            That whenever the selectmen of any town shall judge
            any inhabitant thereof, belonging to the said militia,
            unable to arm and equip himself in manner as aforesaid,
            they shall, at the expense of the town, provide for and
            furnish such inhabitant [sic] with the aforesaid arms and
            equipments, which shall remain the property of the town
            at the expence of which they shall be provided; and if
            any soldier shall embezzle or destroy the arms and
            equipments, or any part thereof, with which he shall be
            to furnished, he shall upon conviction before some
            Justice of the Peace in the county where such offender
            shall live, be adjudged to replace the article or articles
            which shall be by him so embezzeled or destroyed, and
            to pay the cost arising from the process against him; and
            in café he (hall not within fourteen days after such
            adjudication against him perform the same, it shall be in
            the power of the selectmen of the town to which he shall
            belong, to bind him out to service or labour, for such
            term of time as shall in the discretion of the said Justice,
            be sufficient to procure a sum of money equal to the
            amount of the value of the article or articles embezzeled
            or destroyed, and to pay the cost arising as aforesaid…

            ….

            XXXV. And be it further enacted by the authority
            aforesaid, That the non-commissioned officers and
            private soldiers belonging to the said corps of artillery,
            shall be armed and equipped in the same manner as the
            train-band of the said militia are in this act directed to
            arm and equip themselves.




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             ….

             XXXVIII. And be it further enacted by the authority
             aforesaid, That every officer, non-commissioned officer
             and private, belonging to the said cavalry, shall keep
             himself provided with a good horse, not less than
             fourteen hands and a half high, a saddle, bridle, holsters,
             pistols, sword, boots and spurs, carbine with a spring
             and sling, a cartouch-box, with twelve rounds of
             cartridge and ball for his carbine, and fix for each pistol,
             nine flints, a cloak and canteen.

             ….

             XL. And be it further enacted by the authority aforesaid,
             That the officers, non-commissioned officers and
             privates belonging to the said corps of artillery and
             cavalry, shall be subject to the same rules and
             regulations as are by this act provided for the train-band
             in the militia aforesaid; and the several companies
             belonging to the said corps shall be subject to the
             immediate orders of the major-neral commanding the
             division within which the same shall be raised.

New          Whereas it is the duty and interest of every State, to         An Act for Forming
Hampshire    have the militia thereof properly armed, trained, and in       and Regulating the
             complete readiness to defend against every violence or         Militia within this
             invasion whatever: And Whereas the laws now in force           State, and for
             respecting the regulation of the militia are insufficient      Repealing All the
             for those purposes: Be it therefore enacted…That the           Laws Heretofore
             training band, so called, shall consist of all the able        Made for that
             bodied male persons within the State, from sixteen years       Purpose (N.H.
             old to forty…                                                  1786) in THE LAWS
                                                                            OF THE STATE OF
             ….                                                             NEW HAMPSHIRE
                                                                            356-57, 359-60
             And be it further enacted by the authority aforesaid,          (1792).
             That every non-commissioned officer and soldier, both
             in the alarm list and training band, shall be provided and
             have constantly in readiness, a good musquet and
             bayonet fitted thereto, with a good scabbard and belt, a
             worm, priming-wire and brush, a cartridge-box that will
             hold, at least twenty-four rounds, six flints, and a pound
             of powder, forty leaden balls fitted to his gun, a knap-
             sack, a blanket, and a canteen that will hold one quart.




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             Such of the training band as are under the care of
             parents, masters, or guardians, are to be furnished by
             them with such arms and accoutrements; and such of the
             training band, or alarm list, as shall be unable to furnish
             themselves, shall make application to the selectmen of
             the town, who are to certify to his captain, or
             commanding officer, that he is unable to equip himself;
             and the said selectmen shall, at the expense of the town,
             provide for, and furnish such person with arms and
             equipments; which arms and equipments shall be the
             property of the town at whose expense they are
             provided…

New Jersey   And Be It Enacted, That the Captain or Commanding             An Act for the
             Officer of each Company shall keep a true and perfect         Regulating,
             List or Roll of all effective Men between the Ages of         Training, and
             sixteen and fifty Years, residing within the District of      Arraying of the
             such Company….And Be It Enacted, That every Person            Militia and for
             enrolled as aforesaid shall constantly keep himself           Providing More
             furnished with a good Musket, well fitted with a              Effectually for the
             Bayonet, a Worm, a Cartridge-Box, twenty-three                Defence and
             Rounds of Cartridges sized to his Musket, a Priming-          Security of the
             Wire, Brush, six Flints, a Knapsack and Canteen, under        State, ch. XIII,
             the Forfeiture of Seven Shillings and Sixpence for Want       §§10-11 1781 N.J.
             of a Musket, and One Shilling for Want of any other of        Acts 39, 42-43.
             the aforesaid Articles, whenever called out to Training
             or Service….Provided always, That if any Person be
             furnished as aforesaid with a good Rifle-Gun, the
             Apparatus necessary for the same, and a Tomahawk, it
             shall be accepted in Lieu of the Musket and the Bayonet
             and other Articles belonging thereto.

New York     Be it enacted by the people of the State of New-York,         An Act to Regulate
             represented in Senate and assembly, and it is hereby          the Militia (N.Y.
             enacted by the authority of the same, That every able-        1786) in Thomas
             bodied male person, being a citizen of this state, or of      Greenleaf, ed., 1
             any of the United States, and residing in this state…and      LAWS OF THE STATE
             who are of the age of sixteen, and under the age of forty-    OF NEW YORK 227-
             five years, shall, by the captain or commanding officer       28 (1792).
             of the beat in which such citizens shall reside, within
             four months after the passing of this act, be enrolled in
             the company of such beat. That every captain or
             commanding officer of a company, shall also enroll
             every citizen as aforesaid, who shall, from time to time,
             arrive at the age of sixteen years, or come to reside
             within his beat, and without delay notify such enrolment




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                 to such citizen so enrolled, by some non-commissioned
                 officer of the company, who shall be a competent
                 witness to prove such notice.…That every citizen so
                 enrolled and notified, shall within three months
                 thereafter, provide himself, at his own expence, with a
                 good musket or firelock, a sufficient bayonet and belt, a
                 pouch, with a box therein to contain not less than
                 twenty-four cartridges suited to the bore of his musket
                 or firelock, each cartridge containing a proper quantity
                 of powder and ball, two spare flints, a blanket and
                 knapsack; and shall appear so armed, accoutered and
                 provided when called out to exercise or duty, as herein
                 after directed.

North Carolina   §2 Be it therefore enacted by the General Assembly of          An Act to Establish
                 the State of North Carolina, and it is hereby enacted by       a Militia in this
                 the authority of the same, that the Militia of this State be   State, ch. 1, §§2, 4,
                 divided into six Brigades, viz.: One in each of the            1777 Laws of N.C.
                 Districts of Edenton, New Bern, Wilmington, Halifax,           1-2.
                 Salisbury and Hillsborough. And each Brigade to be
                 commanded by a Brigadier General. And the Militia of
                 every County shall consist of all the effective men from
                 sixteen to fifty years of age inclusive.

                 ….

                 §4. And be it further enacted, that each Militia soldier
                 shall be furnished with a good Gun, shot bag and
                 powder horn, a Cutlass or Tomahawk, and every Soldier
                 neglecting to appear at any muster, accoutered as above,
                 shall forfeit for every such offence two shillings and six
                 pence (unless he can make it appear that they were not
                 to be procured) to be recovered as other fines. And
                 where any person shall appear to the Field Officers not
                 possessed of sufficient property to afford such arms and
                 accouterments, the same shall be procured at the
                 expence of the County, and given to such persons on
                 muster Days, or when ordered into service, which Guns
                 and Accouterments after such service, shall be returned
                 to the Captain of the Company, and by him carefully
                 preserved for future occasions.

Pennsylvania     § I. Whereas a militia law upon just and equitable             An Act to Regulate
                 principles hath ever been regarded as the best security of     the Militia of the
                 liberty and the most effectual means of drawing forth          Commonwealth of
                 and exerting the natural strength of a state…                  Pennsylvania, ch.




                                                                                        App. 36
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                                                                             DCCL, §§I, III-IV,
               ….                                                            X, 1776-77 Penn.
                                                                             Stat. 75-78, 80.
               §III. Be it enacted…, and it is hereby enacted by the
               Representatives of the Freemen of the Commonwealth
               of Pennsylvania in the General Assembly met, and by
               the authority of the same, That the president or in his
               absence [the] vice-president of the supreme executive
               council of this commonwealth shall commissionate one
               reputable freeholder in the city of Philadelphia and one
               in each county within this state to serve as lieutenant of
               the militia for the said city and counties respectively.

               ….

               § IV. And be it further enacted….That the said
               lieutenant or sub-lieutenants as aforesaid shall issue his
               or their warrant to the constable of each township,
               borough, ward, or district in the said city and counties
               respectively or to some other suitable person,
               commanding him in the name of this commonwealth to
               deliver to him or them…a true and exact list of the
               names and surnames of each and every male white
               person usually inhabiting or residing within his
               township, borough, ward, or district between the ages of
               eighteen and fifty-three years capable of bearing arms.

               ….

               § X. And be it further enacted…That the whole of the
               militia so enrolled as aforesaid shall be subject to be
               exercised in companies under their respective
               officers…and on each of which days every militia-man
               so enrolled shall duly attend with his arms and
               accoutrements in good order.

Rhode Island   [A]ll effective Males between the Ages of Sixteen and         An Act for the
               Fifty . . . shall constitute and make the military Force of   Better Forming,
               this State….And be it further Enacted by the Authority        Regulating and
               aforesaid, That each and every effective Man as               Conducting the
               aforesaid shall provide, and at all times be furnished, at    Military Force of
               his own Expense (excepting such persons as the Town-          this State, 1780 R.I.
               Councils of the Towns in which they respectively dwell        Acts 29, 31-32, 35.
               or reside shall adjudge unable to purchase the same)
               with one good Musquet, and a Bayonet fitted
               thereto….Be it further enacted that every Person who




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                 shall at any Time be found deficient in any of the Arms,
                 Accoutrements and Equipage, as by this act prescribed
                 and directed, excepting those before excepted, such
                 Delinquent shall forfeit and pay a Fine for every such
                 delinquency….All Male Persons between the Ages of
                 Fifty and Sixty, if able in the Judgment of the respective
                 Town-Councils, shall be at all Times armed, accoutered
                 and equipped, in Manner aforesaid upon the same
                 Penalty as though they were held to military Duty.

South Carolina   [I]t shall be lawful for the Governor, or Commander in          An Act for the
                 Chief of this State, to order the Militia of this State to      Regulation of the
                 assemble once in every six months in the City of                Militia in this State,
                 Charleston, and once in every twelve months in the              1784 S.C. Acts 68-
                 other districts throughout the state…That every person          69.
                 who, on being summoned, shall willfully neglect to turn
                 out at a regimental muster, properly armed and
                 accoutered…shall be fined in a sum not exceeding four
                 dollars….And be it enacted by the authority aforesaid,
                 that the following persons shall be excused from militia
                 duty…all persons under the age of eighteen years, or
                 above the age of fifty years.

Vermont          And that every able-bodied male person, being a citizen         An Act Regulating
                 of this state, or of any of the united states and residing in   the Militia of the
                 this state…who are of the age of sixteen and under the          State of Vermont.
                 age of fortyfive [sic] years, shall by the captain or
                                                                                 for Regulating the
                 commanding officer of the beat in which such citizen
                 shall reside, within four months after passing of this act,     Militia of this State
                 be enrolled in the company of such beat….And every              (Vt. 1787) in
                 citizen, so enrolled and notified, shall within nine             STATUTES OF THE
                 months there after, provide himself, at his own expence         STATE OF VERMONT
                 with a good musket or firelock, with a priming wire and         REVISED AND
                 brush, a sufficient bayonet and belt, with a cartouch box,      ANNOTATED, 107
                 with three pounds of lead bullets suitable to the bore of
                                                                                 (1791).
                 his musket or firelock, a good horn containing one
                 pound of powder, and four spare flints; and shall appear
                 so armed, accoutred and provided, when called out to
                 exercise or duty, if thereto required.

Virginia         Be it enacted, That all free male persons between the           An Act for
                 ages of eighteen and fifty years…shall be enrolled or           Amending the
                 formed into [militia] companies….Every Officer and              Several Laws for
                 soldier shall appear…armed, equipped, and accoutered
                                                                                 Regulating and
                 as follows: The County Lieutenants, Lieutenant
                 Colonels Commandant and Majors with a sword: the                Disciplining the




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            Captains, Lieutenants, and Ensigns, with a sword and       Militia, and
            espontoon; every non-commissioned officer and private,     Guarding against
            with a good clean musket carrying an ounce ball, and       Invasions and
            three feet eight inches long in the barrel, with a good
                                                                       Insurrections, ch.
            bayonet and iron ramrod well fitted thereto, a cartridge
            box properly made, to contain and secure twenty            LXVII, 1784 Va.
            cartridges fitted to his musket, a good knapsack and       Acts 16.
            canteen; and moreover, each non-commissioned officer
            and private shall have at every muster, one pound of
            good powder and four pounds of lead; including twenty
            blind cartridges.




                                                                               App. 39
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                              CERTIFICATE OF SERVICE


        On May 16, 2011, I electronically submitted the foregoing document with the

 clerk of court for the U.S. District, Northern District of Texas, using the electronic case

 filing system of the court. I hereby certify that I have served all counsel and/or pro se

 parties of record electronically or by another manner authorized by Federal Rule of Civil

 Procedure 5(b)(2).


                                                               /s/Charles J. Cooper
                                                               Charles J. Cooper
